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Filed                20-CI-00312 10/30/2020    Beth A. Fiss, Simpson Circuit Clerk




        CASE NO. __________________                                         SIMPSON CIRCUIT COURT


        DAVID G. SCHOLZ                                                                         PLAINTIFF

        v.

        MARK ALLEN WICKERING
        VAN EERDEN TUCKING COMPANY INC. and
        UNKNOWN DEFENDANT                                                                   DEFENDANTS



                                                 COMPLAINT
                                               (Electronically filed)

               1.      That the plaintiff, David G. Scholz, is a resident of the State of Florida.

               2.      That the defendant, Mark Allen Wickering, is a resident of the State of Michigan

        with a last known address of 66 Auburn ST, Grand Rapids, MI 49506.




                                                                                                               Presiding Judge: HON. JANET J. CROCKER (649250)
               3.      That the defendant, Van Eerden Trucking Company INC, is a foreign for-profit

        corporation
          r         organized in the state of Michigan with a principle address 102998 South Kent Dr.

        SW Byron Center, MI 49315.

               4.      That the unknown defendant is an unknown employer or supervisor of the

        defendant, Wickering.

               5.      That the defendants are subject to the jurisdiction of this Court pursuant to

        Kentucky’s Long-Arm Statute, KRS 454.210(2)(a)(3).

               6.      That pursuant to KRS 454.210(3)(a), the Kentucky Secretary of State is the

        statutory agent of process for the defendants.

               7.      That this action arises out of a semi-tractor trailer crash that occurred on November
                                                                                                               COM : 000001 of 000003




        14, 2018 in Simpson County, Kentucky.




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                8.      That on or about November 14, 2018, while the plaintiff was resting in a lawfully

        parked tractor trailer truck at the Flying J. Truck Stop, the defendant, Wickering, crashed a semi-

        tractor trailer into the vehicle occupied by the plaintiff.

                9.      That as a direct and proximate result of the negligence of the defendant, Wickering,

        as alleged above, the plaintiff sustained bodily injury and damages.

                10.     That at the time and place of the aforesaid tractor trailer crash, the defendant,

        Wickering, operated a semi-tractor trailer truck with reckless disregard for the safety of the public

        including the plaintiff.

                11.     That the plaintiff is entitled to punitive damages.

                12.     That at all times material, the defendant, Wickering, was an employee of the

        defendant, Van Eerden.




                                                                                                                Presiding Judge: HON. JANET J. CROCKER (649250)
                13.     That at the time and place of the aforesaid motor vehicle accident, the defendant,

        Wickering, was within the scope of his employment with the defendant, Van Eerden Trucking Co.

                14.     That at the time and place of the aforesaid tractor trailer crash, the defendant,

        Wickering, was within the scope of employment with an Unknown Defendant.

                15.     That the defendants, Van Eerden and the Unknown Defendant, are vicariously

        liable for the negligence of the defendant, Wickering.

                16.     That the defendants, Van Eerden and the Unknown Defendant, were negligent in

        their hiring, training, and supervision of the defendant, Wickering.

                17.     That as a direct and proximate result of the negligent hiring, training, and

        supervision as alleged above, the plaintiff sustained bodily injury and damages.
                                                                                                                COM : 000002 of 000003




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              WHEREFORE, the plaintiff demands as follows:

              1.    For Judgment against the defendants;

              2.    For court costs;

              3.    For trial by jury;

              4.    For punitive damages; and

              5.    For all other relief for which the plaintiff may be entitled.



                                           KARL
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                                                                                                 Presiding Judge: HON. JANET J. CROCKER (649250)
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